                                 UNTIED
            Case 2:15-cr-00569-SDW      STAIBSDISTRICTCOURT
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                                                      DISTRICT OF NEW JERSEY

                                                MAGISTRATE'S COURTROOM MINUTES

UNITED STATES OF AMERICA                                           MAGISTRATEJUDGE:      MichaelA.Hannner

                 v.                                                CRIMINAL NO.:            15-569
                                                                   DATE OFPROCEEDINGS:.__4=/2=112=0=17"-------
MARK ANDREOTTI
                                                                   DATEOFARREST:._ _ _ _ _ _ _ _ __



PROCEEDINGS:._ _~B=ai=·1'""'M=odi~·fi~ca~tio~n~H~eann~·!!:>-g_ _

( ) COMPLAINT                                                       ( ) TEMPORARY COMMITMENT
( )ADVISEDOFRIGHfS                                                  ( ) CONSENT TO DETENTION WITH RIGHT TO MAKE A
( ) WAIVER OF COUNSEL                                                   BAILAPPLICATIONAT ALATERTIME
( ) APPT. OF COUNSEL:_ _AFPD              _CJA                      ( ) BAIL DENIED- DEFENDANT REMANDED TO CUSTODY
                                                                    ( )BAILSET: _ _ _ _ _ _ _ _ _ _ _ __
( ) WAIVER OF HRG.:           PRELIM          REMOVAL
( ) CONSENT TO MAGISTRATE'S JURISDICTION                                   ( ) UNSECURED BOND
( )PLEAENTERED:              GUIL1Y       NOTGUIL1Y                        ( ) SURETY BOND SECURED BY CASH I PROPERTY
( )PLEAAGREEMENT -                   --                             ( )TRAVELRESTRICTED - - - - - - - - -
( )RULEll FORM                                                      ( ) REPORT TO PRETRIAL SERVICES
( ) FINANCIALAFFIDAVIT EXECUTED                                     ( ) DRUG TESTING AND/OR TREATMENT
~OlHER No contact with victims or witnesses. Any                    ( ) MENTAL HEALTH TESTING AND/OR TREATMENT
contact with Melissa Andreotti shall only be through text           \ 2.,SURRENDER&/OROBTAINNOPASSPORT
and email and limited to coordinating business of the              )XlSEE ORDER MODIFYING CONDITIONS OF RELEASE FOR
children. Home incarceration, reside with sister in                     ADDITIONAL CONDITIONS
Princeton NJ etc.


HEARING(S) SET FOR:

(   )PREUMINARY/REMOVALHRG.                                           DATR    -
                                                                      DATE:   _-_-_-_-_-_-_-_-_-_-_-_-
                                                                                                     _
(   ) DETENTION I BAILHRG.
(   ) TRIAL: _COURT      _JURY                                        DATE:   _ _ _ _ _ _ _ _ _ _ _ __
                                                                      DATE:   _ _ _ _ _ _ _ _ _ _ _ __
(   )SENTENCING
(   )OTIIER._ _ _ _ _ _ _ _ _ _ _                          ~

                                                                      DATE: - - - - - - - - - - - - -




APPEARANCES:

AUSA                     Shana Chen

DEFT. COUNSEL             Kevin Carlucci

PROBATION------------
INTERPRETER _ _ _ _ _ _ _ _ _ _ __
            I.        Language: (                      )


 Time Commenced:        ____    ____
                          ~- '3Cc,     ___,_

~~~!~nnmared: --~~~~~=~~~-----
                                                                                         J. Baker

                                                                                        DEPUTY CLERK
